       Case 3:18-cv-03534-RS Document 22 Filed 08/06/18 Page 1 of 5



 1 SHEPPARD MULLIN RICHTER & HAMPTON LLP
   P. CRAIG CARDON, Cal. Bar No. 168646
 2 BENJAMIN O. AIGBOBOH, Cal. Bar No. 268531
   ALYSSA M. SHAUER, Cal. Bar No. 318359
 3 1901 Avenue of the Stars, Suite 1600
   Los Angeles, California 90067-6055
 4 Telephone:    310.228.3700
   Facsimile:    310.228.3701
 5 E mail        ccardon@sheppardmullin.com
                 baigboboh@sheppardmullin.com
 6               ashauer@sheppardmullin.com

 7 Attorneys for Defendant
   WILLIAMS-SONOMA, INC.
 8

 9                          UNITED STATES DISTRICT COURT
10         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
11

12 BRIAN KUTZA on behalf of himself and all     Case No. 3:18-cv-03534-RS
   others similarly situated,
13                                              CLASS ACTION
                  Plaintiff,
14                                              REQUEST FOR JUDICIAL NOTICE IN
           v.                                   SUPPORT OF DEFENDANT WILLIAMS-
15                                              SONOMA, INC.’S MOTION TO DISMISS
   WILLIAMS-SONOMA, INC.,                       CLASS ACTION COMPLAINT
16
                  Defendant.                    Hearing:
17                                              Date:                September 20, 2018
                                                Time:                1:30 p.m.
18                                              Courtroom:           3

19                                              Complaint Filed:     June 13, 2018
                                                Trial Date:          None Set
20

21

22

23

24

25

26

27

28

                                                                    Case No. 3:18-cv-03534-RS
                   REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS COMPLAINT
         Case 3:18-cv-03534-RS Document 22 Filed 08/06/18 Page 2 of 5



 1                               REQUEST FOR JUDICIAL NOTICE

 2          TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          Pursuant to Fed. R. Evid. 201, Defendant Williams-Sonoma, Inc. (“WSI”) respectfully

 4 requests that the Court take judicial notice of the following in connection with its Motion to

 5 Dismiss Class Action Complaint (“Motion”) filed concurrently herewith:

 6          1.     Photographs of the Williams-Sonoma-brand products—Fleur de Sel All-Purpose
                   Cleaner, Meyer Lemon Hand Lotion, Meyer Lemon Hand Soap, Pink Grapefruit
 7                 Countertop Spray, and White Gardenia Dish Soap—that Plaintiff Brian Kutza
                   (“Plaintiff”) alleges he purchased in Paragraph 15 of the Class Action Complaint
 8                 (the “Complaint”) and that are attached to the Declaration of Benjamin O.
                   Aigboboh in Support of Motion to Dismiss (“Aigboboh Decl.”) as Exhibits A
 9                 through E (the “Purchased Products”);
10          2.     The Dictionary.com definition of word “derive” attached to the Aigboboh
                   Declaration as Exhibit F (the “Dictionary.com Definition”);
11
            3.     The Merriam-Website Dictionary definition of the word “derive” attached to the
12                 Aigboboh Declaration as Exhibit G (the “Merriam-Webster Definition”);
13          4.     The American Heritage Dictionary” definition of the word “derive” attached to the
                   Aigboboh Declaration as Exhibit H (the “American Heritage Definition”);
14
            5.     The Oxford English Dictionary of the word “derive” attached to the Aigboboh
15                 Declaration as Exhibit I (the “Oxford English Definition”); and
16          6.     The February 15, 2018 letter from Adam M. Goffstein to WSI attached to the
                   Aigboboh Declaration as Exhibit J (the “CLRA Letter”).
17

18          The Request is based on the accompanying Memorandum of Points and Authorities and the
19 Aigboboh Declaration filed concurrently herewith, which demonstrate good cause for granting

20 this Request.

21                                      SHEPPARD MULLIN RICHTER & HAMPTON LLP

22
     Dated: August 6, 2018              By                    /s/ Benjamin O. Aigboboh
23                                                               P. CRAIG CARDON
                                                             BENJAMIN O. AIGBOBOH
24                                                             ALYSSA M. SHAUER
25
                                                               Attorneys for Defendant
26                                                           WILLIAMS-SONOMA, INC.

27

28

                                                -1-                    Case No. 3:18-cv-03534-RS
                      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS COMPLAINT
         Case 3:18-cv-03534-RS Document 22 Filed 08/06/18 Page 3 of 5



 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2                                       I.      INTRODUCTION

 3          WSI requests that the Court take judicial notice of (1) photographs of the packaging of the

 4 Purchased Products (Aigboboh Decl. ¶¶ 2-6, Exs. A-E), (2) the Dictionary.com Definition (id. ¶ 7,

 5 Ex. F), (3) the Merriam-Webster Definition (id. ¶ 8, Ex. G), (4) the American Heritage Definition

 6 (id. ¶ 9, Ex. H), (5) the Oxford English Definition (id. ¶ 10, Ex. I), and (6) the CLRA Letter (id. ¶

 7 11, Ex. J) in the connection with the Motion filed concurrently herewith.

 8                          II.     JUDICIAL NOTICE IS APPROPRIATE

 9 A.       Judicial Notice Of Purchased Products’ Packaging Is Proper
10          Courts regularly takes judicial notice of product packaging that is incorporated by

11 reference into the complaint and is not subject to reasonable dispute. See, e.g., Zeiger v. WellPet

12 LLC, 304 F. Supp. 3d 837, 845 n.1 (N.D. Cal. 2017); Brazil v. Dole Food Co., 935 F. Supp. 2d

13 947, 963 n.4 (N.D. Cal. 2015); Parent v. MillerCoors LLC, 2015 U.S. Dist. LEXIS 145071, at *8

14 (S.D. Cal. Oct. 26, 2015); Welk v. Beam Suntory Imp. Co., 124 F. Supp. 3d 1039, 1041-42 (S.D.

15 Cal. Aug. 21, 2015). Here, the Purchased Products’ packaging is “incorporated by reference in”

16 the Complaint and “form[s] the basis” of Plaintiff’s claims. Zeiger, 304 F. Supp. 3d at 845 n.1;

17 see also Dkt. 1 ¶¶ 5, 7, 16, 31. Thus, judicial notice is proper. See, e.g., Zeiger, 304 F. Supp. 3d at

18 845 n.1 (taking judicial notice of product labels that were “incorporated by reference in the

19 Amended Complaint and form the basis of plaintiffs’ claims….”); Punian v. Gillette Co., 2016

20 U.S. Dist. LEXIS 34164, at **13-15 (N.D. Cal. Mar. 15, 2016) (taking judicial notice of

21 photographs of packaging of products that were the subject of the complaint).

22 B.       Judicial Notice Of The Dictionary Definitions Is Proper

23          Fed. R. Evid. 201 “contemplates judicial notice of facts ‘that only an unreasonable person

24 would insist on disputing’—for example, those found in an ‘almanac, dictionary, calendar or

25 similar source.’” Adan v. Kaiser Found. Health Plan, Inc., 2018 U.S. Dist. LEXIS 36683, at *13

26 (N.D. Cal. Mar. 6, 2018) (citing Walker v. Woodford, 454 F. Supp. 2d 1007, 1022 (S.D. Cal.

27 2006)). Under California law, “[w]hen attempting to ascertain the ordinary, usual meaning of a

28 word, courts appropriately refer to the dictionary definition of that word.” Moreno v. S.F. Bay

                                                 -2-                    Case No. 3:18-cv-03534-RS
                       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS COMPLAINT
           Case 3:18-cv-03534-RS Document 22 Filed 08/06/18 Page 4 of 5



 1 Area Rapid Transit Dist., 2017 U.S. Dist. LEXIS 206009, at *12 (N.D. Cal. Dec. 14, 2017) (citing

 2 Wasatch Property Management v. Degrate, 35 Cal. 4th 1111, 1122 (2005)). The Dictionary.com

 3 Definition, Merriam-Webster Definition, American Heritage Definition, and Oxford English

 4 Definition are not subject to reasonable dispute and, as such, the proper subject of judicial notice.

 5 C.        Judicial Notice Of The CLRA Letter Is Proper

 6           “Even if a document is not attached to a complaint, it may be incorporated by reference

 7 into a complaint if the plaintiff refers extensively to the document or the document forms the basis

 8 of the plaintiff’s claim.” Sharp v. Nationstar Mortgage, LLC, 2014 U.S. Dist. LEXIS 124096, at

 9 **9-10 (N.D. Cal. Sept. 3, 2014) (citing U.S. v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003)). “The
10 defendant may offer such a document, and the district court may treat such a document as part of

11 the complaint, and thus may assume that its contents are true for purposes of a motion to dismiss

12 under Rule 12(b)(6).” Sharp, 2014 U.S. Dist. LEXIS 124096, at *10; see also Rubio v. U.S. Bank

13 N.A., 2014 U.S. Dist. LEXIS 45677, at *12 (N.D. Cal. Mar. 31, 2014) (“The court also may take

14 judicial notice of material incorporated by reference into the complaint without converting the

15 motion to dismiss into a motion for summary judgment.”).

16           Courts applying this doctrine have regularly taken judicial notice of alleged CLRA notice
17 letters. See, e.g., Zeiger, 304 F. Supp. 3d at 845 n.1 (taking judicial notice of “letter concerning

18 notice of CLRA claim from plaintiffs’ counsel to defendants, because the parties agree that its

19 contents are not subject to reasonable dispute.”); Sebastian v. Kimberly-Clark Corp., 2017 U.S.

20 Dist. LEXIS 208544, at *8 (S.D. Cal. Dec. 18, 2017); Won Kyung Hwang v. Ohso Clean, Inc.,

21 2013 U.S. Dist. LEXIS 54002, at *2 n.2 (N.D. Cal. Apr. 16, 2013). Here, Plaintiff alleges that

22 “[o]n February 15, 2018, [a] CLRA demand letter was sent to [WSI] via certified mail that

23 provided notice of [WSI’s] violation of the CLRA….” Dkt. 1 ¶ 66. The CLRA Letter, therefore,

24 is the proper subject of judicial notice.

25 / / /

26 / / /

27 / / /

28 / / /

                                                 -3-                    Case No. 3:18-cv-03534-RS
                       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS COMPLAINT
          Case 3:18-cv-03534-RS Document 22 Filed 08/06/18 Page 5 of 5



 1                                         III.   CONCLUSION

 2           For the foregoing reasons, WSI requests that the Court grant its Request for Judicial

 3 Notice.

 4                                       SHEPPARD MULLIN RICHTER & HAMPTON LLP

 5

 6 Dated: August 6, 2018                 By                    /s/ Benjamin O. Aigboboh
                                                                  P. CRAIG CARDON
 7                                                            BENJAMIN O. AIGBOBOH
 8                                                              ALYSSA M. SHAUER

 9                                                              Attorneys for Defendant
                                                              WILLIAMS-SONOMA, INC.
10   SMRH:487285600.4

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                  -4-                    Case No. 3:18-cv-03534-RS
                        REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS COMPLAINT
